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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA

________________________________________
                                         )
HULLEY ENTERPRISES LTD., YUKOS           )
UNIVERSAL LTD., AND VETERAN              )
PETROLEUM LTD.,                          )
                                         )
                        Petitioners,     )
                                         )
                  v.                     )                    Case No. 1:14-cv-01996-BAH
                                         )
THE RUSSIAN FEDERATION,                  )
                                         )
                        Respondent.      )
________________________________________ )

                            RESPONDENT’S STATUS REPORT

       Pursuant to the Court’s September 30, 2016 Order, Respondent advises herein on the

status of the arbitral Award set-aside proceedings in the Court of Appeal of The Hague and

related proceedings.

       Despite their efforts to agree on the substance of a joint status report, including mutual

exchanges of drafts and explanatory emails, the Parties were unable to reach agreement. The

Parties agreed that each would advise the Court separately, as they also had done for the

March 30, 2017 status report. Respondent’s status report is as follows:

       1.     On March 13, 2017, Petitioners filed their Statement of Appeal with the Court of

Appeal. The voluminous submission raised a number of new arguments and included seven new

expert reports. As a result, Respondent requested a three-month extension of the September 5,

2017 deadline for its Statement of Defense (which would have resulted in a nine-month period to

prepare the submission, as compared to the more than ten months which Petitioners had to

prepare their Statement of Appeal following the district court’s decision in April 2016).

Petitioners agreed to a ten-week extension. On July 27, Respondent filed an uncontested request
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with the Court of Appeal to extend the Statement of Defense deadline by ten weeks, to

November 14. On September 5, the Court of Appeal granted the request.

          2.        After Respondent files its Statement of Defense, the Parties will have an

opportunity to comment as to whether the content of the Statement of Defense warrants a reply

submission by Petitioners. 1

          3.        On September 19, 2017, following its adjustment to the briefing schedule as noted

above, the Court of Appeal in The Hague amended the hearing schedule. The Court of Appeal

has reserved December 18, 2017 for case management purposes. The Court of Appeal has

reserved April 9-10 and June 18-19, 2018 for oral pleadings (i.e., hearings on the merits). It is

possible, based on party comments and the outcome of the December 18 case management

conference, that the Court of Appeal could schedule further dates for oral pleadings, or otherwise

amend or extend the procedural calendar.

          4.        Petitioners have initiated two new proceedings in the United States under 28

U.S.C. § 1782 for discovery relating to Armenian proceedings which, if granted, Petitioners have

argued they would submit to the Court of Appeal after Respondent files its Statement of Defense.

The status of those proceedings is as follows:

                   In re Application for an Order Pursuant to 28 U.S.C. § 1782 to Conduct
                    Discovery for Use in a Foreign Proceeding, Misc. Case No. 1:17-mc-1466 (BAH)
                    (D.D.C.). Petitioners filed the Application on June 19, 2017, seeking discovery
                    from the law firm Baker Botts LLP and one of its partners, Mr. Ryan Bull. After
                    briefing by the parties, this Court denied the application in a Memorandum
                    Opinion and Order dated August 18. On September 8, the Petitioners filed a
                    Motion for Reconsideration. Briefing on that Motion is pending, with Baker
                    Botts and Ryan Bull scheduled to file their response on October 6.


1
  See Email from Ct. of Appeal to the Parties, Jan. 23, 2017 (Vasquez Decl. IV, Exhibit 13, ECF No. 157-13) (“[T]he Court will
verify, after the submission of the Defence on Appeal, further to the content of that Defence and after the parties have been given
the opportunity to comment, whether a proper conduct of the case requires that HVY should be given the opportunity to, apart
from a response to any exhibits submitted with the Defence on Appeal, respond to the content of the Defence on Appeal in a
separate brief.”). As previously reported, Dutch law and procedure generally afford each party the opportunity to submit only
one brief on appeal. See, e.g., Respondent’s Status Report dated Mar. 30, 2017 ¶ 2 (ECF No. 156).

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                  In re Application of Hulley Enterprises, Ltd., Yukos Universal Ltd., and Veteran
                   Petroleum Ltd. for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery
                   for Use in a Foreign Proceeding, Case No. 2:17-CV-07100-PA-E (C.D. Cal.).
                   Petitioners filed the Application on June 19, 2017, seeking discovery from Mr.
                   Edward Mouradian, an Armenian lawyer, as to the same alleged set of facts
                   relating to an Armenian proceeding. On June 22, the Magistrate Judge granted
                   the Petitioners’ Application and request to proceed ex parte, and authorized
                   Petitioners to serve subpoenas on Mr. Mouradian. On September 11, the
                   Petitioners filed a Motion for Leave to Serve Subpoenas on Edward Mouradian by
                   Alternative Means. The Magistrate Judge denied the motion on September 13.
                   On September 26, the Petitioners filed a Motion for Review of the Magistrate
                   Judge’s Ruling. On the same day, the case was assigned to District Judge Percy
                   Anderson. The Petitioners’ Motion is pending.

         5.        In both of the proceedings initiated under 28 U.S.C. § 1782, Petitioners have

asserted that the requested materials are relevant to the ongoing proceedings in The Hague. 2

Respondent disputes the relevance of the requested materials, based on Petitioners’ failure to

“connect the dots” 3 between the requested materials and the Dutch proceedings. Petitioners’

assertions indicate, however, that Petitioners will undoubtedly seek permission to make a reply

submission to the Court of Appeal in The Hague, further delaying the conclusion of the Dutch

proceedings.

         6.        Simultaneously, Petitioners continue to pursue enforcement actions in other

jurisdictions, with potential implications for the procedure and schedule in The Hague. In the

enforcement action in France, 4 the Paris Court of Appeal issued a ruling on June 27, 2017, in

which it directed the parties to submit their views on the possibility of referring several questions

of European Union (“EU”) law presented by the case to the European Court of Justice (“ECJ”).



2
  See, e.g., In re Application for an Order Pursuant to 28 U.S.C. § 1782 to Conduct Discovery for Use in a Foreign Proceeding,
Misc. Case No. 1:17-mc-1466 (BAH) (D.D.C.), Memorandum Opinion and Order 4-5 (ECF No. 14).
3
  See id. at 10-11.
4
  Petitioner Yukos Universal Ltd. (“YUL”) also is continuing with proceedings in Belgium. A hearing in exequatur proceedings
before the Court of Appeal of Brussels is scheduled for January 30, 2018. In a separate attachment proceeding, a court of first
instance in Brussels issued two decisions on June 8, 2017 to lift attachments on real estate and bank accounts, based on the Dutch
district court’s April 2016 decision setting aside the HVY Awards. YUL has filed an appeal with the Court of Appeal of Brussels
in that matter. A hearing is scheduled for June 12, 2018.

                                                                3
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The parties’ submissions regarding the possibility of ECJ referral are due on October 10. The

Paris Court of Appeal has scheduled a hearing for November 23.

       7.      Respondent’s counsel in France estimates that the Paris court will issue a decision

on ECJ referral by early 2018; that, if the court decides to make the referral, the transfer to the

ECJ would take several months; and that the ECJ proceeding would take one to two years to

reach a ruling, at which point the case would return to the Paris Court of Appeals for its decision.

The ECJ proceeding, if any, would address questions of EU law applicable to all EU Member

States. The impact of this proceeding on The Hague proceeding is unknown at this time.


Dated: September 29, 2017                            Respectfully submitted,


                                                     /s/ Carolyn B. Lamm______________
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